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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Helena Yonatan Zerihun, et al.
                                       Plaintiff,
v.                                                        Case No.: 1:19−cv−02170
                                                          Honorable Jorge L. Alonso
Boeing Co., The, et al.
                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 31, 2024:


         MINUTE entry before the Honorable Jorge L. Alonso: Plaintiff's Agreed Motion
for settlement approval and dismissal with prejudice [1983] is granted. Plaintiff
MAGNUS MONTELIUS, As Special Representative and Special Administrator of the
Estate of ALEXANDRA WACHTMEISTER, Deceased, and on behalf of all Surviving
Beneficiaries' claims in case number 21−cv−00628 are dismissed with prejudice. Notice
mailed by Judge's staff (lf, )




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